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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA; STATE OF
CALIFORNIA; STATE OF NORTH                         Civil No. 23-3009 (JRT/JFD)
CAROLINA; STATE OF TENNESSEE; STATE
OF MINNESOTA; STATE OF TEXAS; and
STATE OF UTAH,
                                            MEMORANDUM OPINION AND ORDER
                              Plaintiffs,    AFFIRMING MAGISTRATE JUDGE’S
                                                        ORDER
v.

AGRI STATS, INC.,

                              Defendant.


     Adam Kinkley, Anna Wang, Chase Pritchett, Eun-Ha Kim, Griffin S. Kenny,
     James H. Congdon, John M. Briggs, Kate M. Riggs, Kyle Bright, Lowell Stern,
     Mark Henry Michael Sosnowsky, Peter A. Nelson, and William Friedman,
     DEPARTMENT OF JUSTICE, 450 Fifth Street Northwest, Washington, DC
     20530; Ann M. Bildtsen and Liles Harvey Repp, UNITED STATES ATTORNEY’S
     OFFICE, 300 South Fourth Street, Suite 600, Minneapolis, MN 55415;
     Anthony Epifanio Maneiro and Matthew Gold, DEPARTMENT OF JUSTICE,
     209 South LaSalle Street, Suite 600, Chicago, IL 60604; Maia Sara
     Lichtenstein, DEPARTMENT OF JUSTICE, 201 Varick Street, Suite 1006, New
     York, NY 10014; Silvia Dominguez-Reese, DEPARTMENT OF JUSTICE, 1425
     New York Avenue, 5066 Nya, Washington, DC 20005, for Plaintiff United
     States of America.

     Elizabeth R. Odette, James W. Canaday, Katherine Moerke, and Sarah
     Doktori, OFFICE OF THE MINNESOTA ATTORNEY GENERAL, 445 Minnesota
     Street, Suite 600, Saint Paul, MN 55101; Jamie L. Miller, Michael Wayne
     Jorgenson, Nicole Gordon, Paula L. Blizzard, and Quyen Toland, OFFICE OF
     THE CALIFORNIA ATTORNEY GENERAL, 455 Golden Gate Avenue, Suite
     11000, San Francisco, CA 94102; William Friedman, DEPARTMENT OF
     JUSTICE, 450 Fifth Street Northwest, Washington, DC 20530, for Plaintiff
     State of California.
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Elizabeth R. Odette, James W. Canaday, Katherine Moerke, and Sarah
Doktori, OFFICE OF THE MINNESOTA ATTORNEY GENERAL, 445 Minnesota
Street, Suite 600, Saint Paul, MN 55101; Kunal Choksi, NORTH CAROLINA
DEPARTMENT OF JUSTICE, 114 West Edenton Street, Raleigh, NC 27603;
William Friedman, DEPARTMENT OF JUSTICE, 450 Fifth Street Northwest,
Washington, DC 20530, for Plaintiff State of North Carolina.

Elizabeth R. Odette, James W. Canaday, Katherine Moerke, and Sarah
Doktori, OFFICE OF THE MINNESOTA ATTORNEY GENERAL, 445 Minnesota
Street, Suite 600, Saint Paul, MN 55101; Daniel Lynch and Scott Ethan
Bowers, TENNESSEE ATTORNEY GENERAL’S OFFICE, P.O. Box 20207,
Nashville, TN 37202; William Friedman, DEPARTMENT OF JUSTICE, 450 Fifth
Street Northwest, Washington, DC 20530, for Plaintiff State of Tennessee.

Elizabeth R. Odette, James W. Canaday, Katherine Moerke, and Sarah
Doktori, OFFICE OF THE MINNESOTA ATTORNEY GENERAL, 445 Minnesota
Street, Suite 600, Saint Paul, MN 55101; William Friedman, DEPARTMENT
OF JUSTICE, 450 Fifth Street Northwest, Washington, DC 20530, for Plaintiff
State of Minnesota.

Katherine Moerke, OFFICE OF THE MINNESOTA ATTORNEY GENERAL, 445
Minnesota Street, Suite 600, Saint Paul, MN 55101; Obinna Iloani, Paige
Etherington, and William Shieber, TEXAS OFFICE OF THE ATTORNEY
GENERAL, 300 West Fifteenth Street, Seventh Floor, Austin, TX 78701;
William Friedman, DEPARTMENT OF JUSTICE, 450 Fifth Street Northwest,
Washington, DC 20530, for Plaintiff State of Texas.

Katherine Moerke, OFFICE OF THE MINNESOTA ATTORNEY GENERAL, 445
Minnesota Street, Suite 600, Saint Paul, MN 55101; Marie W. L. Martin,
UTAH OFFICE OF THE ATTORNEY GENERAL, 350 North State Street, Salt
Lake City, UT 84114; Matthew Alan Michaloski, UTAH OFFICE OF THE
ATTORNEY GENERAL, 160 East 300 South, Fifth Floor, P.O. Box 140830, Salt
Lake City, UT 84114; William Friedman, DEPARTMENT OF JUSTICE, 450 Fifth
Street Northwest, Washington, DC 20530, for Plaintiff State of Utah.




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       Peter H. Walsh, HOGAN LOVELLS US LLP, 80 South Eighth Street, Suite 1225,
       Minneapolis, MN 55402; Justin Bernick, Liam Phibbs, Olga Fleysh, and
       William Leitzsey Monts, III, HOGAN LOVELLS US LLP, 555 Thirteenth Street
       Northwest, Washington, DC 20004, for Defendant.


       The United States and six individual states (collectively, “Plaintiffs”) brought this

antitrust action against Defendant Agri Stats, Inc. (“Agri Stats”) alleging an information-

exchange conspiracy with major U.S. broiler chicken, pork, and turkey processors. The

Court denied Agri Stats’ motion to transfer and alternative motion to dismiss. The case

progressed to discovery, which created the dispute now before the Court. Agri Stats filed

a motion to compel a response to an interrogatory, which Magistrate Judge John F.

Docherty denied. Agri Stats appeals that denial. Because the Magistrate Judge did not

clearly err, the Court will affirm the Magistrate Judge’s order denying Agri Stats’ motion

to compel a response to Agri Stats’ Interrogatory No. 5.

                                      BACKGROUND

       The Court described the underlying factual and procedural background of

Plaintiffs’ claims in its order denying Agri Stats’ motion to transfer and motion to dismiss.

United States v. Agri Stats, Inc., No. 23-3009, 2024 WL 2728450, at *1–2 (D. Minn. May

28, 2024). Here, the Court will only summarize the background relevant to the instant

appeal of Agri Stats’ motion to compel.

       Agri Stats operates a subscription and consulting service for major meat

processors. Id. at *1. Rudimentarily, Agri Stats’ subscription service collects data from its


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subscribers, compiles that data into reports, and distributes those reports to subscribers.

Id. Agri Stats also advises subscribers on how to use those reports. Id.

       Agri Stats reports are central to the underlying conspiracy claims and thus central

to discovery. Agri Stats served its first set of interrogatories on Plaintiffs on August 1,

2024, which included the following Interrogatory No. 5:

                 Identify each specific data field or column in any Agri Stats or
                 EMI reports that you contend contain competitively sensitive
                 information, the disclosure of which you contend has resulted
                 or will result in harm to competition or consumers.

(Decl. of Justin W. Bernick (“Bernick Decl.”) ¶ 3, Ex. 1 at 8,1 Jan. 23, 2025, Docket No. 190.)

Plaintiffs responded to Interrogatory No. 5 with roughly two pages of explanation. (Id. ¶

4, Sealed Ex. 2 at 13–15.) In their explanation, Plaintiffs made objections to the

interrogatory and explained that their claims surrounding the sharing of competitively

sensitive information do not rest only on certain data fields in Agri Stats reports but rather

allege that the information can be used in conjunction with other Agri Stats information.

(Id. at 13.) Plaintiffs also provided two examples of how the Agri Stats data could be used.

(Id. at 13–15.) Plaintiffs concluded their response by arguing that the interrogatory seeks

premature expert discovery analyzing the specific data points in Agri Stats reports. (Id. at

15.)




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           All page number citations refer to ECF pagination.
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       The parties met and conferred on several occasions regarding Interrogatory No. 5.

(Bernick Decl. ¶¶ 5–11, Exs. 3–9.) Both parties rested on their initial positions—Plaintiffs

refused to provide any additional examples of data fields they considered to share

competitively sensitive information, and Agri Stats continued to demand that

information. (Id.)

       Unable to reach an informal resolution, Agri Stats filed a motion to compel a

response to Interrogatory No. 5. (Mot. Compel, Jan. 23, 2025, Docket No. 182.) The

Magistrate Judge held a hearing and subsequently denied Agri Stats’ motion to compel,

concluding that “Plaintiffs’ original response to Agri Stats’ Interrogatory No. 5 [was]

adequately responsive.” United States v. Agri Stats, Inc., No. 23-3009, 2025 WL 553615,

at *1 (D. Minn. Feb. 19, 2025).

       Agri Stats appeals the Magistrate Judge’s order. (Appeal/Obj. Magistrate Judge

Decision, Mar. 5, 2025, Docket No. 274.)

                                       DISCUSSION

I.     STANDARD OF REVIEW

       Magistrate judges may hear and determine certain pretrial matters under the

Federal Magistrate Judges Act. 28 U.S.C. § 636(b)(1)(A); accord D. Minn. LR 72.1(a)(2).

The standard of review applicable to an appeal of a magistrate judge’s order on non-

dispositive pretrial matters is extremely deferential. Roble v. Celestica Corp., 627 F. Supp.

2d 1008, 1014 (D. Minn. 2007). The Court will reverse such an order only if it is clearly

erroneous or contrary to law. Id.; 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(a); D. Minn.
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LR 72.2(a)(3). “A finding is clearly erroneous when ‘although there is evidence to support

it, the reviewing court on the entire evidence is left with the definite and firm conviction

that a mistake has been committed.’” Lisdahl v. Mayo Found., 633 F.3d 712, 717 (8th Cir.

2011) (quoting Anderson v. City of Bessemer City, 470 U.S. 564, 573 (1985)). “A decision

is contrary to law when it fails to apply or misapplies relevant statutes, case law or rules

of procedure.” Knutson v. Blue Cross & Blue Shield of Minn., 254 F.R.D. 553, 556 (D. Minn.

2008) (internal quotation omitted).

II.    ANALYSIS

       The Magistrate Judge denied Agri Stats’ motion to compel because he determined

that Plaintiffs’ original interrogatory answer was adequately responsive. Agri Stats argues

that the Magistrate Judge clearly erred for several reasons, but none of Agri Stats’

arguments demonstrate clear error.

       First, Agri Stats argues that Plaintiffs had a duty to supplement their response

when they became aware of additional data fields that allegedly contain competitively

sensitive information and that the Magistrate Judge’s failure to consider this violation

constitutes clear error. Rule 26(e) of the Federal Rules of Civil Procedure requires a party

to supplement interrogatory responses if “the party learns that in some material respect

the disclosure or response is incomplete or incorrect . . . .” Fed. R. Civ. P. 26(e)(1)(A). But

Plaintiffs have maintained that their claims do not rest on specific data fields but rather

the unique combination of Agri Stats information and services. The Magistrate Judge

considered that position and did not find the original answer to Interrogatory No. 5 to be
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inadequate. Further, the Magistrate Judge specifically addressed Agri Stats’ perceived

harm without a supplemental response, namely the inability to conduct adequate

discovery and the issue of fair notice of the allegedly violative conduct, and found no harm

to Agri Stats. While the Magistrate Judge may not have used the specific words of Rule

26, the hearing transcript certainly shows that he considered the obligation to

supplement and found it unnecessary. That analysis does not constitute clear error.

       Second, Agri Stats argues that the Magistrate Judge sua sponte amended the

interrogatory and then provided an answer on behalf of Plaintiffs.2 In reality, though, the

Magistrate Judge asked clarifying questions based on his understanding of the parties’

arguments from the briefing. Then, he reached the conclusion that Plaintiffs’ original

answer was sufficient. No amended response was proffered or accepted; the original

response stands. The Magistrate Judge did not clearly error by asking the parties

clarifying questions at oral argument.

           Third, Agri Stats argues that the Magistrate Judge’s order is contrary to law

because he found Plaintiffs’ response sufficient despite the fact that the data was

described as “problematic” as opposed to “competitively sensitive.” True, the Magistrate

Judge used the term problematic in the hearing and in his order, but Plaintiffs did not use




       2
          Agri Stats seems to take the position that the answer the Magistrate Judge provided on
behalf of the United States would not apply to the other Plaintiff States. Because there exists no
amended interrogatory or answer, the original response to Interrogatory No. 5, which the
Plaintiff States incorporated by reference, remains for all Plaintiffs.
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that term in their interrogatory response. Indeed, Plaintiffs mirrored the “competitively

sensitive” language from the interrogatory. So, the Magistrate Judge’s use of the word

problematic has no bearing on whether Plaintiffs’ original response was sufficient, and

accordingly, does not constitute clear error.

       Fourth, Agri Stats argues that the Magistrate Judge erred when he failed to require

Plaintiffs to memorialize their amended answer in writing. Rule 33(b) requires that each

interrogatory be “answered separately and fully in writing under oath.” Fed. R. Civ. P.

33(b)(3).   But the Magistrate Judge found Plaintiffs’ original answer sufficiently

responsive. So, there was no amended answer and Rule 33(b) was satisfied by Plaintiffs’

original answer. The Magistrate Judge did not clearly err by not requiring that Plaintiffs

put a non-existent amended answer in writing.

       While Agri Stats may not have gotten the response it desired from Plaintiffs, the

Magistrate Judge did not clearly err in determining that Plaintiffs’ original response to

Interrogatory No. 5 was adequate. Agri Stats’ arguments misconstrue Plaintiffs’ claims,

Plaintiffs’ interrogatory response, and the Magistrate Judge’s order. Plaintiffs’ claims, as

pleaded, allege that the information in Agri Stats reports in conjunction with its other

services constitute the sharing of competitively sensitive information among competitors.

(2nd Am. Compl. ¶ 28, Nov. 15, 2023, Docket No. 50.) As much as Agri Stats would like to

place the anticompetitive allegations on the shoulders of one specific data field, the

explicit text of Plaintiffs’ claims contradicts Agri Stats’ theory. Plaintiffs clarified the


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nature of their claims in their response to Agri Stats’ interrogatory. And Plaintiffs

informed Agri Stats that it was essentially impossible to provide a list of data fields that

constituted competitively sensitive data because it required specific analysis on how the

data was being used. The Magistrate Judge found Plaintiffs’ original response sufficient.

The Court agrees and will affirm the Magistrate Judge’s order denying Agri Stats’ motion

to compel.

                                          ORDER

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Defendant’s Appeal/Objection of Magistrate Judge Decision

[Docket No. 274] is OVERRULED, and the Magistrate Judge’s Order on Motion to Compel

[Docket No. 222] is AFFIRMED.




DATED: June 3, 2025
at Minneapolis, Minnesota.                               JOHN R. TUNHEIM
                                                     United States District Judge




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